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LTNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                             X
EDWARD REICHERTER,
                                                                             I   5-cv-3879
                                Plaintiff,                                        (JMA)

                       -against-                                          Notice of Motion

 THE TOWN OF HEMPSTEAD,


                                Defendant.
                                                             X

                pLEASE TAKE NOTICE that upon the annexed declaration of Donna A.

 Napolitano, Esq., affirmed on the 17th day of June, 2019, the exhibits annexed thereto in support

 of this motion, Defendant's Rule 56.1 Statement, and Defendant's Memorandum of Law,               and


 upon all of the prior proceedings had herein, Defendant, the Town of Hempstead, will move this

 Court, on a date and at a time to be designated by the Court, before the Honorable Joan M.

  Azrack, United States District Court Judge, at the United States Courthouse, Eastern District of

 New York, 100 Federal Plaza, Central Islip, New York, for an Order granting summary

 judgment to Defendant, and such other, further and different relief as appears just and proper.

 Dated: Garden City, New York
        June 17,2019

                                                       BERKMAN, HENOCH, PETERSON,
                                                       PEDDY & FENCHEL, P.C.

                                                       By           lsl
                                                       Donna A. Napolitano
                                                       Special Counsel to Town of Hempstead
                                                       100 Garden CityPlaza
                                                       Garden City, New York 11530
                                                       (st6)222-6200




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